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                                No. 24-1285

                UNITED STATES COURT OF APPEALS
                   FOR THE FEDERAL CIRCUIT

                                APPLE INC.,
                                                      Appellants,
                                     v.
                INTERNATIONAL TRADE COMMISSION,
                                                      Appellee,
     MASIMO CORPORATION, CERCACOR LABORATORIES, INC.,
                                                      Intervenors.
        Appeal from the United States International Trade Commission,
                       Investigation No. 337-TA-1276

      APPELLEE INTERNATIONAL TRADE COMMISSION’S
NOTICE REGARDING ACT | THE APP ASSOCIATION, CHAMBER OF
PROGRESS, NETCHOICE, AND TECHNET’S MOTION FOR LEAVE TO
   FILE BRIEF AS AMICI CURIAE IN SUPPORT OF APPELLANT


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Dated: April 18, 2024
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      On April 12, 2024, ACT | The App Association; Chamber of Progress;

NetChoice; and TechNet moved for leave to file an amicus brief supporting

appellant Apple Inc. in this appeal. ECF No. 41. The motion accurately reflected

the Commission’s position that it would state its position upon receipt of amici’s

motion. Id., Motion at 1. Having received the motion and brief, the Commission

does not oppose and will not be filing a response.

                                Respectfully submitted,


                                /s/ Ronald. A. Traud
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Date: April 18, 2024




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                     CERTIFICATE OF SERVICE

      I, Ronald A. Traud, hereby certify that, on this 18th day of April 2024,

I caused a copy of the foregoing Appellee International Trade

Commission’s Notice Regarding Act | The App Association, Chamber of

Progress, NetChoice, and TechNet’s Motion for Leave to File Brief as

Amici Curiae in Support of Appellant, to be served on counsel of record

via the Court’s CM/ECF system.



                                      /s/ Ronald A. Traud
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